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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


   Southern
 ____________________               New York
                      District of _________________
                                        (State)
                                                             11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               LATAM Airlines Group S.A.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used                Lan Airlines S.A.
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                 5 ___9 – 2
                                              ___            6 ___
                                                         ___ ___ 0 ___
                                                                    5 ___
                                                                       8 ___
                                                                          8 ___5
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               Estado 10
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                               Piso 11
                                             ______________________________________________              _______________________________________________
                                                                                                         P.O. Box

                                               Santiago               Republic of Chile
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                                  www.latam.com
                                              ____________________________________________________________________________________________________




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Debtor          LATAM Airlines Group S.A.
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________

                                            A. Check one:
 7.   Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                            B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 4 ___
                                               ___  8 1___1___

 8.   Under which chapter of the            Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                             Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                           affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                          recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                           income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                             11 U.S.C. § 1116(1)(B).
      check the second sub-box.                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                             Chapter 12




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Debtor           LATAM Airlines Group S.A.
                _______________________________________________________                       Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases          No
       filed by or against the debtor
       within the last 8 years?             Yes.    District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY

 10.   Are any bankruptcy cases             No
       pending or being filed by a
       business partner or an               Yes.            See attached Schedule 1
                                                     Debtor _____________________________________________                Affiliate
                                                                                                          Relationship _________________________
       affiliate of the debtor?                                Southern District of New York
                                                     District _____________________________________________ When                  Date hereof
                                                                                                                               __________________
       List all cases. If more than 1,                                                                                         MM / DD / YYYY
       attach a separate list.                       Case number, if known ________________________________



 11.   Why is the case filed in this       Check all that apply:
       district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have          No
       possession of any real               Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                       Other _______________________________________________________________________________



                                                    Where is the property?_____________________________________________________________________
                                                                              Number          Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________         _______ ________________
                                                                              City                                            State ZIP Code


                                                    Is the property insured?
                                                       No
                                                       Yes. Insurance agency ____________________________________________________________________

                                                             Contact name     ____________________________________________________________________

                                                             Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor            LATAM Airlines Group S.A.
                 _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 13.   Debtor’s estimation of                Check one:
       available funds                          Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                                1-49                                1,000-5,000                              25,001-50,000
 14.   Estimated number of                      50-99                               5,001-10,000                             50,001-100,000
       creditors
                                                100-199                             10,001-25,000                            More than 100,000
       (on a consolidated basis)                200-999

                                                $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 15.   Estimated assets                         $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
       (on a consolidated basis)                $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                                $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


                                                $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 16.   Estimated liabilities                    $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
       (on a consolidated basis)                $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                                $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion



                Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of              The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                                 petition.
       debtor
                                                 I have been authorized to file this petition on behalf of the debtor.

                                                 I have examined the information in this petition and have a reasonable belief that the information is true and
                                                 correct.


                                             I declare under penalty of perjury that the foregoing is true and correct.

                                                             05/26/2020
                                                Executed on _________________




                                                    Rata
                                                            MM / DD / YYYY


                                                 _____________________________________________                 Ramiro Alfonsín Balza
                                                                                                             _______________________________________________
                                                Signature of authorized representative of debtor             Printed name

                                                       Authorized Signatory
                                                Title _________________________________________




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Debtor          LATAM Airlines Group S.A.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                              /s/ Lisa M. Schweitzer
                                            _____________________________________________            Date        05/26/2020
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                             Lisa M. Schweitzer
                                           _________________________________________________________________________________________________
                                           Printed name
                                             Cleary Gottlieb Steen & Hamilton
                                           _________________________________________________________________________________________________
                                           Firm name
                                             One Liberty Plaza
                                           _________________________________________________________________________________________________
                                           Number     Street
                                              New York
                                           ____________________________________________________               NY
                                                                                                           ____________    10006
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                             (212) 225-2641
                                           ____________________________________                               lschweitzer@cgsh.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                              2837722
                                           ______________________________________________________   NY
                                                                                                  ____________
                                           Bar number                                             State




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                    Chapter 11

LATAM Airlines Group S.A.,                               Case No.: 20-(___)

                           Debtor.                       Joint Administration Pending




                      Attachment to Voluntary Petition for Non-Individuals Filing for
                                     Bankruptcy under Chapter 11

   1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of
1934, the SEC file number is CIK 0001047716.
    2. The following financial data is the latest available information and refers to the debtor’s condition
on December 31, 2019.
    a. Total assets                                                   $21,087,806,000
    b. Total debts (including debts listed in 2.c., below)            $17,958,629,000
    c. Debt securities held by more than 500 holders
                                                                                               Approximate
                                                                                               number of
                                                                                               holders:
    secured     □      unsecured     □   subordinated   □    $_______________________          _________
    secured     □      unsecured     □   subordinated   □    $_______________________          _________
    secured     □      unsecured     □   subordinated   □    $_______________________          _________
    secured     □      unsecured     □   subordinated   □    $_______________________          _________
    secured     □      unsecured     □   subordinated   □    $_______________________          _________

    d. Number of shares of preferred stock
    e. Number of shares common stock                                                          606,407,693
   Comments, if any: __________________________________________________________________
_____________________________________________________________________________________
_____________________________________________________________________________________

    3. Brief description of debtor’s business: LATAM Airlines Group S.A. (“LATAM”) is a pan-Latin
American airline holding company involved in the transportation of passengers and cargo and operates as
one unified business enterprise. LATAM is the largest passenger airline group in South America.

    4. List the names of any person who directly or indirectly owns, controls, or holds, with power to
vote, 5% or more of the voting securities of debtor: Cueto Group (acting through Costa Verde
Aeronáutica S.A., Costa Verde Aeronáutica SpA, Costa Verde Aeronáutica Tres SpA, Inversiones Nueva
Costa Verde Aeronáutica Ltda., Inversiones Priesca Dos y Cía. Ltda., Inversiones Caravia Dos y Cía.
Ltda., Inversiones El Fano Dos y Cía. Ltda., Inversiones La Espasa Dos S.A. e Inversiones La Espasa Dos
y Cía. Ltda.) – 21.46%; Delta Air Lines, Inc. – 20%; Qatar Airways Investments (UK) Ltd. – 10%.
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                                          SCHEDULE 1

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”), filed a
voluntary petition for relief under chapter 11 of title 11 of the United States Code in the United
States Bankruptcy Court for the Southern District of New York. The Debtors have moved for
joint administration of these cases for procedural purposes only under the case number assigned
to the chapter 11 case of LATAM Airlines Group S.A.



1.     LATAM Airlines Group S.A.                    20.     Lan Cargo Overseas Ltd.

2.     Lan Cargo S.A.                               21.     LATAM Airlines Ecuador S.A.

3.     Transporte Aéreo S.A.                        22.     Professional Airline Cargo Services,
                                                            LLC
4.     Inversiones Lan S.A.
                                                    23.     Cargo Handling Airport Services, LLC
5.     Lan Pax Group S.A.
                                                    24.     Connecta Corporation
6.     Fast Air Almacenes de Carga S.A.
                                                    25.     Prime Airport Services Inc.
7.     LATAM Travel Chile II S.A.
                                                    26.     Maintenance Service Experts, LLC
8.     Technical Training LATAM S.A.
                                                    27.     Lan Cargo Repair Station LLC
9.     Lan Cargo Inversiones S.A.
                                                    28.     Professional Airline Maintenance
10.    Holdco Colombia I SpA                                Services LLC

11.    Holdco Colombia II SpA                       29.     Professional Airlines Services Inc.

12.    Línea Aérea Carguera de Colombia S.A.

13.    Aerovías de Integración Regional S.A.

14.    Holdco Ecuador S.A.

15.    LATAM Finance Ltd.

16.    Peuco Finance Ltd.

17.    LATAM Airlines Perú

18.    Inversiones Aéreas S.A.

19.    Mas Investment Ltd.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                              Chapter 11

LATAM Airlines Group S.A.,                         Case No.: 20-(___)

                         Debtor.                   Joint Administration Pending



               CORPORATE OWNERSHIP STATEMENT PURSUANT
        TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

               Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the following are corporations, other than a governmental unit, that directly or

indirectly own 10% or more of any class of the Debtor’s equity interests:


                                                  Approximate Percentage of Equity Interest
                  Shareholder
                                                                   Held
 Delta Air Lines, Inc.                            19.99%


 Qatar Airways Investments (UK) Ltd.              10.00%


 Costa Verde Aeronautica S.A.                     11.19%
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                      Chapter 11

LATAM Airlines Group S.A., et al.,                         Case No.: 20-(___)

                          Debtors. 1                       Joint Administration Pending




                           CONSOLIDATED LIST OF CREDITORS
                         HOLDING FIVE LARGEST SECURED CLAIMS

                 The following is a list of those creditors holding the five largest secured claims

against the Debtors, on a consolidated basis, as of April 30, 2020. This list has been prepared

from the books and records of the Debtors for filing in the Debtors’ chapter 11 cases.

                 The information set forth herein shall not constitute an admission of liability by,

nor is binding on, the Debtors, nor shall it bind the Debtors or their estates as to the amount,

nature and status of any claim. The failure to list or designate any claim as contingent, disputed

or subject to set off, recharacterization or other challenge shall not be a waiver of any of the

Debtors’ rights or defenses relating thereto.




1
         The Debtors in these chapter 11 cases, and each Debtor’s federal tax identification number (to the extent
applicable), are as follows: LATAM Airlines Group S.A. (XX-XXXXXXX); Lan Cargo S.A. (XX-XXXXXXX); Transporte
Aéreo S.A. (XX-XXXXXXX); Inversiones Lan S.A. (XX-XXXXXXX); Technical Training LATAM S.A. (96-847880K);
LATAM Travel Chile II S.A. (XX-XXXXXXX); Lan Pax Group S.A. (XX-XXXXXXX); Fast Air Almacenes de Carga S.A.
(XX-XXXXXXX); Línea Aérea Carguera de Colombia S.A. (XX-XXXXXXX); Aerovías de Integración Regional S.A. (98-
0640393); LATAM Finance Ltd. (N/A); LATAM Airlines Ecuador S.A. (XX-XXXXXXX); Professional Airline Cargo
Services, LLC (XX-XXXXXXX); Cargo Handling Airport Services, LLC (XX-XXXXXXX); Maintenance Service Experts,
LLC (XX-XXXXXXX); Lan Cargo Repair Station LLC (XX-XXXXXXX); Prime Airport Services Inc. (XX-XXXXXXX);
Professional Airline Maintenance Services LLC (XX-XXXXXXX); Connecta Corporation (XX-XXXXXXX); Peuco Finance
Ltd. (N/A); Latam Airlines Perú S.A. (XX-XXXXXXX); Inversiones Aéreas S.A. (N/A); Holdco Colombia II SpA (76-
9310053); Holdco Colombia I SpA (XX-XXXXXXX); Holdco Ecuador S.A. (XX-XXXXXXX); Lan Cargo Inversiones S.A.
(XX-XXXXXXX); Lan Cargo Overseas Ltd. (XX-XXXXXXX); Mas Investment Ltd. (XX-XXXXXXX); Professional Airlines
Services Inc. (XX-XXXXXXX). For the purpose of these Chapter 11 Cases, the service address for the Debtors is: 6500
NW 22nd Street Miami, FL 33131.
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                                                                                General
           Creditor/Address                Claim Amount       Debt Type       Description
                                                                              of Collateral
 Wilmington Trust Company
 1100 North Market Street
                                                                                (11) 321s,
 Wilmington, DE 19890-1605
                                             $777,509,924   EETC, Tranche A      (2) 350s,
 Attn: Corporate Trust Administration
                                                                                 (4) 787s
 Telephone: (302) 636-6000
 Fax: (302) 636-4140

 Citibank, N.A., Loan Administration
 1615 Brett Road, OPS 3
                                                                               26 Planes and
 New Castle, DE 19720                                        Revolving Loan
                                                                              15 Engines and
 (302) 894-6010                             $603,162,619       Agreement
                                                                                Spare Parts
 (212) 994-0847
 Attn: Owen Coyle

 Credit Agricole Corporate & Investment
 Bank
                                                              Engine Loan
 Credit Agricole Building                    $274,365,652                      41 Engines
                                                                Facility
 1301 Avenue of the Americas
 SFI Agency & Middle Office, 20th Floor

 Wells Fargo Bank Northwest, National
 Association
 260 North Charles Lindbergh Drive
                                                             EXIM Aircraft
 Salt Lake City, UT 84116                    $276,870,256                        (9) 767s
                                                                Bond
 Attn: Corporate Trust Lease Group
 Telephone: (801) 246-5653
 Fax: (801) 246-5630

 Natixis
 30, Avenue Pierre Mendes France -
 75013 Paris                                                  Aircraft Loan
                                             $242,989,785                       (9) A321s
 BP 4 75060 Paris Cedex 02                                     Agreement
 542 044 524 RCS Paris
 Attn: Julie Watremez




                                                2
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 Fill in this information to identify the case and this filing:


               LATAM Airlines Group S.A.
 Debtor Name __________________________________________________________________
                                           Southern
 United States Bankruptcy Court for the: ______________________              New York
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule ____


              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


              Other document that requires a
                                              Corporate Ownership Statement; Top 5 Secured Creditors List
              declaration__________________________________________________________________________________




                                                              Rpp
        I declare under penalty of perjury that the foregoing is true and correct.


                     05/26/2020
        Executed on ______________                             _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Ramiro Alfonsín Balza
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Authorized Signatory
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
  Debtor name: LATAM Airlines Group S.A., et al.                                                                                                                                                         □ Check if this is an amended filing
  Bankruptcy Court for the Southern District of New York
  Case number (if known): ________________



Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders                                                                                                                               12/15

A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11
U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 40 largest unsecured claims.



Name of creditor and complete mailing address, including     Name, telephone number, and email address of            Nature of the claim(for example,   Indicate if claim   Amount of unsecured claim
zip code                                                     creditor contact                                        trade debts, bank loans,           is contingent,      If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                     professional services, and         unliquidated, or    amount. If claim is partially secured, fill in total claim amount and
                                                                                                                     government contracts)              disputed            deduction for value of collateral or setoff to calculate unsecured
                                                                                                                                                                            claim.



                                                                                                                                                                                                         Deduction for value
                                                                                                                                                                             Total claim, if partially
                                                                                                                                                                                                           of collateral or  Unsecured Claim
                                                                                                                                                                                     secured
                                                                                                                                                                                                                setoff


             LATAM 2026 Notes                                LATAM 2026 Notes
             240 Greenwich Street                            Bank of New York Mellon, as Trustee
             7E                                              Peter Lopez
1                                                                                                                    UNSECURED NOTES                                                                                                  $800,000,000.00
             New York, NY 10286                              PHONE: + 1 212 815 8273
                                                             FAX:
                                                             EMAIL: peter.lopez@bnymellon.com


             LATAM 2024 Notes                                LATAM 2024 Notes
             240 Greenwich Street                            Bank of New York Mellon, as Trustee
             7E                                              Peter Lopez
2                                                                                                                    UNSECURED NOTES                                                                                                  $700,000,000.00
             New York, NY 10286                              PHONE: + 1 212 815 8273
                                                             FAX:
                                                             EMAIL: peter.lopez@bnymellon.com


                                                             Banco Santander Chile
             Banco Santander Chile
                                                             Maria Soledad Schuster
             Bandera N° 140
3                                                            PHONE: 56 (2) 2648 3669 Anexo 83669                     FREQUENT FLIER MILES                   Contingent                                                                $549,000,000.00
             Santiago, Metropolitana
                                                             FAX:
             Chile
                                                             EMAIL: mariasoledad.schuster@santander.cl




             Local Bonds, Series E                           Local Bonds, Series E
             Avenida Libertador Bernardo O’Higgins 1111      Banco del Estado de Chile, as Trustee
4            Santiago, Metropolitana                         Francesca Gardella                                      UNSECURED NOTES                                                                                                  $179,030,673.32
             Chile                                           PHONE: (562) 2970 6210 FAX:
                                                             EMAIL: fgarde@bancoestado.cl



                                                             Banco de Credito del Perú
             Banco de Credito del Perú                       Gianfranco Piero Ferrari de las Casas, CEO
             Calle Centenario 156                            PHONE: 51.1.313.2000
5                                                                                                                    FREQUENT FLIER MILES                   Contingent                                                                $167,000,000.00
             Lima, Lima                                      FAX: 51.1.313.2121
             Peru                                            EMAIL: consultationsbcp@bcp.com.pe;
                                                             reclamamos@bcp.com.pe



             Banco Santander Madrid                          Banco Santander Madrid
             Av. de Cantabria s/n                            Luis Casero Ynfiesta
6            28660 Boadilla del Monte                        PHONE: +34 91 289 72 47                                 UNSECURED DEBT                                                                                                   $139,500,000.00
             Madrid, Madrid                                  FAX:
             Spain                                           EMAIL: luis.casero@gruposantander.com




             Local Bonds, Series A                           Local Bonds, Series A
             Avenida Libertador Bernardo O’Higgins 1111      Banco del Estado de Chile, as Trustee
7            Santiago, Metropolitana                         Francesca Gardella                                      UNSECURED NOTES                                                                                                   $89,515,336.66
             Chile                                           PHONE: (562) 2970 6210 FAX:
                                                             EMAIL: fgarde@bancoestado.cl


             Local Bonds, Series B                           Local Bonds, Series B
             Avenida Libertador Bernardo O’Higgins 1111      Banco del Estado de Chile, as Trustee
8            Santiago, Metropolitana                         Francesca Gardella                                      UNSECURED NOTES                                                                                                   $89,515,336.66
             Chile                                           PHONE: (562) 2970 6210 FAX:
                                                             EMAIL: fgarde@bancoestado.cl




                                                             Scotiabank Chile
             Scotiabank Chile
                                                             Federico Alonso
             Casa Matriz Av Costanera Sur 2710 Torre A
9                                                            PHONE: 416‐866‐6161                                     UNSECURED DEBT                                                                                                    $74,000,000.00
             Santiago
                                                             FAX:
             Chile
                                                             EMAIL: Federico.Alonso@scotiabank.cl




    The information set forth herein represents the Debtors’ best efforts to identify the relevant claims, and shall not constitute an admission of
    liability by, nor is it binding on, the Debtors. Furthermore, the failure to list a claim as contingent, disputed or subject to set off shall not be a
    waiver of any right of the Debtors’ rights relating thereto.
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Name of creditor and complete mailing address, including         Name, telephone number, and email address of            Nature of the claim(for example,   Indicate if claim   Amount of unsecured claim
zip code                                                         creditor contact                                        trade debts, bank loans,           is contingent,      If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                         professional services, and         unliquidated, or    amount. If claim is partially secured, fill in total claim amount and
                                                                                                                         government contracts)              disputed            deduction for value of collateral or setoff to calculate unsecured
                                                                                                                                                                                claim.



                                                                                                                                                                                                             Deduction for value
                                                                                                                                                                                 Total claim, if partially
                                                                                                                                                                                                               of collateral or  Unsecured Claim
                                                                                                                                                                                         secured
                                                                                                                                                                                                                    setoff




             Local Bonds, Series C                               Local Bonds, Series C
             Avenida Libertador Bernardo O’Higgins 1111          Banco del Estado de Chile, as Trustee
10           Santiago, Metropolitana                             Francesca Gardella                                      UNSECURED NOTES                                                                                                 $66,241,349.13
             Chile                                               PHONE: (562) 2970 6210 FAX:
                                                                 EMAIL: fgarde@bancoestado.cl




             Local Bonds, Series D                               Local Bonds, Series D
             Avenida Libertador Bernardo O’Higgins 1111          Banco del Estado de Chile, as Trustee
11           Santiago, Metropolitana                             Francesca Gardella                                      UNSECURED NOTES                                                                                                 $66,241,349.13
             Chile                                               PHONE: (562) 2970 6210 FAX:
                                                                 EMAIL: fgarde@bancoestado.cl

                                                                 Banco BTG Pactual Chile, as Agent
             Banco BTG Pactual Chile, as Agent
                                                                 Rodrigo Oyarzo
             Avenida Costanera Sur 2730, 19th floor
12                                                               PHONE: +56 22 587 5027                                  UNSECURED DEBT                                                                                                  $59,438,183.54
             Santiago, Metropolitana
                                                                 FAX:
             Chile
                                                                 EMAIL: Rodrigo.Oyarzo@btgpactual.com



             American Express Travel Related Services Company,   American Express Travel Related Services Company, Inc
             Inc                                                 Liliana Gutierrez
13           200 Vesey Street                                    PHONE: +56 2 2783 8733                                  UNSECURED DEBT                                                                                                  $52,511,111.00
             New York, NY 10285                                  FAX:
                                                                 EMAIL: liliana.w.gutierrez@aexp.com



                                                                 Banco del Estado de Chile
             Banco del Estado de Chile
                                                                 Francesca Gardella
             Avenida Libertador Bernardo O’Higgins 1111
14                                                               PHONE: 56979695018                                      UNSECURED DEBT                                                                                                  $40,000,000.00
             Santiago, Metropolitana
                                                                 FAX:
             Chile
                                                                 EMAIL: fgarde@bancoestado.cl
                                                                 BP p.l.c (Air BP)
             BP p.l.c (Air BP)
                                                                 John Platt, CEO
             501 Westlake Park Boulevard
15                                                               PHONE: 971 5 04536032                                   TRADE DEBT                                                                                                      $38,940,366.00
             Houston, TX 77079
                                                                 FAX: 971 4 3318628
             Unted States
                                                                 EMAIL: airbpoutofhours@bp.com
                                                                 World Fuel Services
             World Fuel Services
                                                                 RICHARD HOPPE
             9800 NW 41 Street, Suite 400.
16                                                               PHONE: 1‐305‐799‐3532                                   TRADE DEBT                                                                                                      $30,030,023.00
             Miami, FL 33178
                                                                 FAX:
                                                                 EMAIL: RHoppe@wfscorp.com

                                                                 Itaú CorpBanca
             Itaú CorpBanca
                                                                 Carlos Irarrazaval
             Avenida Presidente Riesco 5537, 16th Floor
17                                                               PHONE: 56961699692                                      UNSECURED DEBT                                                                                                  $29,857,588.21
             Santiago, Metropolitana
                                                                 FAX:
             Chile
                                                                 EMAIL: Carlos.Irarrazaval@itau.cl

                                                                 Dirección General de Aeronáutica Civil
             Dirección General de Aeronáutica Civil
                                                                 Victor Villalobos Collao
             AV. Miguel Claro 1314
18                                                               PHONE: 2‐4392000                                        TRADE DEBT                                                                                                      $17,063,704.59
             Providencia
                                                                 FAX:
             Chile
                                                                 EMAIL: victor.villalobos@dgac.gob.cl
             Aerospace Turbine Services & Solutions
                                                                 Aerospace Turbine Services & Solutions
             Adjacent Abu Dhabi Intl Airport Turbine Services
                                                                 Mansoor Janahi
             Building
19                                                               PHONE: +971 (2) 5057887                                 TRADE DEBT                                                                                                      $16,632,517.20
             Gate Number 3
                                                                 FAX:
             Abu Dhabi
                                                                 EMAIL: MJanahi@tssaero.ae
             United Arab Emirates

             OneWorld                                            OneWorld
             2 Park Avenue                                       Rob Gurney, CEO
20           Suite 1100                                          PHONE: 604‐713‐2660                                     TRADE DEBT                                                                                                      $14,753,378.00
             New York, NY 10016                                  FAX:
                                                                 EMAIL: rob.gurney@oneworld.com

                                                                 The Boeing Company
             The Boeing Company                                  Gayle K. Wilson
             100 N Riverside Drive                               PHONE: 206‐6629829
21                                                                                                                       TRADE DEBT                                                                                                      $16,167,786.00
             Chicago, IL 60606                                   FAX:
                                                                 EMAIL: gayle.k.wilson@boeing.com;
                                                                 jessica.l.waddell@boeing.com
             Etihad Airways Engineering
                                                                 Etihad Airways Engineering
             SN New Airport Road
                                                                 Frederic Dupont
             P. O. BOX 35566
22                                                               PHONE: 971 56 685 0160                                  TRADE DEBT                                                                                                      $14,425,131.05
             Khalifa City A
                                                                 FAX:
             Abu Dhabi
                                                                 EMAIL: FDUPONT@etihad.ae
             United Arab Emirates

             Gate Gourmet US, Inc                                Gate Gourmet US, Inc
             1880 Campus Commons Drive                           Rodrigo Decerega
23           Suite 200                                           PHONE: 1 (786) 2572043                                  TRADE DEBT                                                                                                      $13,975,615.00
             Reston, VA 20191                                    FAX:
                                                                 EMAIL: rdecerega@gategroup.com




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                                                                                                                                                                                                 Case number (if known) __________
                                                                                                          14 of 29
Name of creditor and complete mailing address, including       Name, telephone number, and email address of               Nature of the claim(for example,   Indicate if claim        Amount of unsecured claim
zip code                                                       creditor contact                                           trade debts, bank loans,           is contingent,           If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                          professional services, and         unliquidated, or         amount. If claim is partially secured, fill in total claim amount and
                                                                                                                          government contracts)              disputed                 deduction for value of collateral or setoff to calculate unsecured
                                                                                                                                                                                      claim.



                                                                                                                                                                                                                   Deduction for value
                                                                                                                                                                                       Total claim, if partially
                                                                                                                                                                                                                     of collateral or  Unsecured Claim
                                                                                                                                                                                               secured
                                                                                                                                                                                                                          setoff

             Regional One INC, Dash 24 LLC; Case: 2013‐20319   Regional One INC, Dash 24 LLC; Case: 2013‐20319 CA 01
             CA 01                                             Kenneth Ronan
                                                                                                                                                                  Contingent,
24           Lavalle, Brown & Ronan PA                         PHONE: 561‐395‐0000                                        CONTINGENT LITIGATION                                                                                                $12,440,000.00
                                                                                                                                                             Unliquidated, Disputed
             750 South Dixey Highway                           FAX:
             Boca Raton, FL 33432                              EMAIL: kronan@lavallebrown.com

             HSBC Bank Chile                                   HSBC Bank Chile
             Av. Isidora Goyenechea 2800                       Alexandre Falcao
25           Floor 23                                          PHONE: 212‐525‐4449                                        UNSECURED DEBT                                                                                                       $12,000,000.00
             Santiago, Metropolitana                           FAX:
             Chile                                             EMAIL: alexandre.p.falcao@us.hsbc.com

                                                               Sistemas Globales Chile‐Asesorias Limitada
             Sistemas Globales Chile‐Asesorias Limitada
                                                               Natalia Croce
             Av.Apoquindo Oficina 5 3600
26                                                             PHONE: 2 ‐ 24468423                                        TRADE DEBT                                                                                                           $11,906,629.20
             Las Condes
                                                               FAX:
             Chile
                                                               EMAIL: natalia.croce@globant.com; Billing@globant.com
                                                               Repsol S.A.
             Repsol S.A.
                                                               Josu Jon Imaz San Miguel, CEO
             2455 Technology Forest Blvd
27                                                             PHONE: 832‐442‐1000                                        TRADE DEBT                                                                                                           $11,135,377.56
             The Woodlands, TX 77381
                                                               FAX:
                                                               EMAIL: infous@repsol.com; ralvarezp.ir@repsol.com
                                                               Talma Servicios Aeroportuarios S.A.
                                                               Entrevista a Arturo Cassinelli, CEO
             Talma Servicios Aeroportuarios S.A.               PHONE: 51 1 513 8900 Anexo 41123 / 41148 / 41140
             Av. Elmer Faucett 2879                            FAX:
28           Piso 4                                            EMAIL:                                                     TRADE DEBT                                                                                                           $11,071,121.78
             Lima Cargo City, Callao 7031                      anabel.ruiz@talma.com.pe;deisy.villar@talma.com.pe;eliza
             Peru                                              beth.pizarro@talma.com.pe;graciela.guillen@talma.com.p
                                                               e;patricia.aranguren@talma.com.pe;rudi.landauro@talma.
                                                               com.pe
             General Directorate for Competition of the        General Directorate for Competition of the European
             European Commission                               Commission
             Place Madou                                       Mr Olivier Guersent, Director General                                                              Contingent,
29                                                                                                                        CONTINGENT LITIGATION                                                                                                 $9,217,000.00
             Madouplein 1                                      PHONE: +32‐229‐65414                                                                          Unliquidated, Disputed
             Brussels, Saint‐Josse‐ten‐Noode 1210              FAX:
             Belgium                                           EMAIL: Olivier.Guersent@ec.europa.eu

                                                               CFM International, Inc.
             CFM International, Inc.
                                                               Gaël Méheust, CEO
             One Neumann Way
30                                                             PHONE: 513‐552‐3272                                        TRADE DEBT                                                                                                            $7,458,917.21
             Cincinnati, OH 45215
                                                               FAX:
                                                               EMAIL: aviation.fleetsupport@ge.com
             AerCap                                            AerCap
             65 St. Stephen’s Green                            Phil Scruggs (CCO)
31           AerCap House                                      PHONE: 353‐1‐819‐2010                                      TRADE DEBT                                                                                                            $7,430,428.00
             Dublin D02 YX20                                   FAX:
             Ireland                                           EMAIL: akelly@aercap.com; pscruggs@aercap.com
             Petróleo Brasileiro S.A                           Petróleo Brasileiro S.A
             200 Westlake Park Boulevard                       RODRIGO MOTTA GUIMARES
32           Suite 1000                                        PHONE: 5521996474208                                       TRADE DEBT                                                                                                            $7,226,085.75
             Houston, TX 77079                                 FAX:
                                                               EMAIL: rodrigo@br‐petrobras.com.br

             Avolon                                            Avolon
             640 5th Ave                                       John Higgins (CCO)
33           19th Floor                                        PHONE: 646‐609‐8970                                        TRADE DEBT                                                                                                            $6,483,212.00
             New York, NY 10019                                FAX:
                                                               EMAIL: jhiggins@avolon.aero; fcampos@avolon.aero

             BBAM Aircraft Leasing & Management                BBAM Aircraft Leasing & Management
             50 California Street                              Daniel Silberman
34           14th Floor                                        PHONE: 415‐267‐1600                                        TRADE DEBT                                                                                                            $6,329,142.68
             San Francisco, CA 94111                           FAX: 415‐618‐3337
                                                               EMAIL: daniel.silberman@bbam.com
                                                               Petróleos del Perú S.A.
             Petróleos del Perú S.A.
                                                               ALONSO RIVERA
             Av.Paseo De La Republica 3361 Sn I
35                                                             PHONE: 996720438                                           TRADE DEBT                                                                                                            $5,499,404.73
             Lima
                                                               FAX:
             Peru
                                                               EMAIL: arivera@petroperu.com.pe.
             Collins Aerospace                                 Collins Aerospace
             2730 W Tyvola Road                                Stephen Ribaudo
36           4 Coliseum Center                                 PHONE: 1 860 503 9729                                      TRADE DEBT                                                                                                            $5,341,080.00
             Charlotte, NC 28217                               FAX:
                                                               EMAIL: stephen.ribaudo@collins.com
                                                               Everis Chile SA
             Everis Chile SA                                   Juan Pablo Buiatti
             Libertador B Ohiggins 1449. 1449                  PHONE: 2‐4215300
37                                                                                                                        TRADE DEBT                                                                                                            $4,815,827.57
             Santiago                                          FAX:
             Chile                                             EMAIL: juan.pablo.buiatti.dal.pietro@everis.com;
                                                               chile.finances@everis.com
                                                               CAE, Inc.
             CAE, Inc.
                                                               Michel Azar‐Hmouda
             Emirates Aviation College Bldg
38                                                             PHONE: 1 972 456‐8070                                      TRADE DEBT                                                                                                            $4,672,327.00
             Dubai
                                                               FAX:
             United Arab Emirates
                                                               EMAIL: michel.azarhmouda@cae.com
                                                               Organización Terpel S.A.
             Organización Terpel S.A.
                                                               LILIANA TOVAR SILVA
             Av Eldorado, 99.
39                                                             PHONE: 315‐355‐4671                                        TRADE DEBT                                                                                                            $4,653,261.27
             Bogota
                                                               FAX:
             Colombia
                                                               EMAIL: ltovar@terpel.com


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Name of creditor and complete mailing address, including   Name, telephone number, and email address of        Nature of the claim(for example,   Indicate if claim   Amount of unsecured claim
zip code                                                   creditor contact                                    trade debts, bank loans,           is contingent,      If the claim is fully unsecured, fill in only unsecured claim
                                                                                                               professional services, and         unliquidated, or    amount. If claim is partially secured, fill in total claim amount and
                                                                                                               government contracts)              disputed            deduction for value of collateral or setoff to calculate unsecured
                                                                                                                                                                      claim.



                                                                                                                                                                                                   Deduction for value
                                                                                                                                                                       Total claim, if partially
                                                                                                                                                                                                     of collateral or  Unsecured Claim
                                                                                                                                                                               secured
                                                                                                                                                                                                          setoff

               Empresa Argentina de                          Empresa Argentina de Navegación
               Navegación Aérea                              Aérea Cristian Arnau
40                                                                                                            TRADE DEBT                                                                                                        $4,215,496.00
               Rivadavia 578                                 PHONE:
               3nd Piso                                      FAX:
               Buenos Aires, AAQ C‐100 2                     EMAIL: carnau@eana.com.ar
               Argentina




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                                      ACTA                                             MINUTES

                       SESIÓN EXTRAORDIARIA DE                             EXTRAORDINARY MEETING OF
                             DIRECTORIO                                     THE BOARD OF DIRECTORS

                        ACUERDOS DE EJECUCIÓN                                 IMMEDIATE APPLICATION
                              INMEDIATA                                           RESOLUTIONS

                                                                            LATAM AIRLINES GROUP S.A.
                      LATAM AIRLINES GROUP S.A.


                 En Santiago de Chile, 25 de mayo de 2020,             In Santiago, Chile, May 25th, 2020, at
                 siendo las 15:00 horas, se reunió el                  15:00, the Board of Directors of LATAM
                 Directorio de LATAM AIRLINES GROUP                    AIRLINES GROUP S.A. (the "Company")
                 S.A. (la “Compañía” o la “Sociedad”), bajo            met under the Chairmanship of Mr. Ignacio
                 la Presidencia del señor Ignacio Cueto                Cueto Plaza and with the attendance of the
                 Plaza y con la asistencia de los directores           directors Mr. Eduardo Novoa Castellón, Mr.
                 señores Eduardo Novoa Castellón, Nicolás              Nicolás Eblen Hirmas, Mr. Enrique Cueto
                 Eblen Hirmas, Enrique Cueto Plaza, Patrick            Plaza, Mr. Patrick Horn García, Mr. Henri
                 Horn García, Henri Philippe Reichstul,                Philippe Reichstul, Ms. Sonia J.S
                 Sonia J.S Villalobos, Enrique Ostalé                  Villalobos, Mr. Enrique Ostalé Cambiaso
                 Cambiaso y Giles Agutter.                             and Mr. Giles Agutter.

                 Se deja constancia que la totalidad de los            It is recorded that all of the directors are
                 directores comparecen a través de                     present via videoconference, as will be
                 videoconferencia, según se certificará al             certified at the end of this document by the
                 final de este documento por el Presidente y           Chairman and the Secretary in accordance
                 la Secretaria conforme lo indicado en el              with Article 47 of the Corporations Act,
                 artículo 47 de la Ley sobre Sociedades                Circular No. 1530 of the Comisión para el
                 Anónimas, la Circular N° 1530 de la                   Mercado Financiero (Financial Market
                 Comisión para el Mercado Financiero (la               Commission) (the "CMF") and Oficio
                 “CMF”) y el Oficio Circular N° 1149 de la             Circular No. 1149 of the CMF.
                 CMF.

                 Participan, además, también por medio de              The officers of the Company Mr. Roberto
                 videoconferencia, los ejecutivos de la                Alvo Milosawlewitsch, CEO; Mr. Guillermo
                 Sociedad, Roberto Alvo Milosawlewitsch,               Orrillo, Director CEO Office, Mr. Ramiro
                 Gerente General; Guillermo Orrillo, Director          Alfonsín Balza, CFO, Mr. Juan Carlos
                 CEO Office, Ramiro Alfonsín Balza,                    Menció, Senior Legal Vice President and
                 Vicepresidente de Finanzas, Juan Carlos               Claudia Pavez González, Legal Manager,
                 Menció, Vicepresidente Senior Legal y                 who also acted as Secretary (the
                 Claudia Pavez González, Gerente Legal,                “Secretary”)      also    participate    via
                 quien también actuó como Secretaria (la               videoconference; and is also present
                 “Secretaria”); y asiste especialmente                 specially invited the external legal counsel
                 invitado el asesor legal externo de la                for the Company and the Board of
                 Sociedad y el Directorio, José María                  Directors, Mr. José María Eyzaguirre
                 Eyzaguirre Baeza, socio de Claro & Cia.               Baeza, partner of Claro & Cia.

                 1. FORMALIDADES                                       1. FORMALITIES


                                                                   1
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                 Se deja constancia que esta sesión fue                It is recorded that this meeting was
                 citada,    siguiendo     las   formalidades           summoned following the formalities
                 establecidas en los estatutos de la                   established in the bylaws of the Company,
                 Sociedad, en la sesión extraordinaria de              in the extraordinary Board of Directors
                 Directorio realizada el 22 de mayo de 2020.           meeting held on May 22, 2020.

                 De acuerdo al inciso tercero del Artículo 48          In accordance with subsection 3 of Article
                 de la Ley sobre Sociedades Anónimas, la               48 of the Corporations Act, the unanimity of
                 unanimidad de los directores asistentes a             the directors attending this extraordinary
                 esta sesión extraordinaria de Directorio              Board of Directors meeting agreed that the
                 dispuso que se lleven a efecto de inmediato           resolutions     contained      herein     be
                 los acuerdos adoptados que se transcriben,            implemented immediately, without need
                 bastando para ello que esta acta se                   that the respective minutes be approved, it
                 encuentre firmada por todos los directores            being sufficient for this purpose that these
                 asistentes a esta sesión extraordinaria de            minutes are signed by all directors
                 Directorio.                                           attending this extraordinary Board of
                                                                       Directors meeting.

                 2. SOMETIMIENTO A PROCEDIMIENTO 2. SUBMISSION TO REORGANIZATION
                 DE   REORGANIZACIÓN    EN   LOS PROCEEDINGS IN THE UNITED STATES
                 ESTADOS UNIDOS DE AMÉRICA       OF AMERICA

                 Toma la palabra el Presidente señor                   The Chairman Mr. Ignacio CUETO makes
                 Ignacio CUETO y resume lo discutido y                 an overview of what was discussed and
                 analizado por el Directorio en las sesiones           analyzed by the Board of Directors on the
                 previas de fecha 7, 14, 21, 28 y 30 de abril,         prior meetings held on April 7, 14, 21, 28
                 y 5, 12, 19 y 22 de mayo del presente.                and 30, and May 5, 12, 19 and 22.

                 Expone que, atendidos los efectos que la              Indicates that, taking into account the
                 pandemia COVID-19 ha tenido en la                     effects that the pandemic COVID-19 has
                 industria aeronáutica, la Compañía lleva              had in the aeronautic industry, the
                 casi dos meses analizando y explorando                Company has completed almost two
                 una     alternativa   de    renegociación             months analyzing and exploring a mutually
                 convencional con sus acreedores y otras               agreed renegotiation with its creditors and
                 partes interesadas. En forma paralela, la             interest parties. In parallel, the Company
                 Compañía ha estudiado las opciones de                 has studied the options of a regulated
                 una reorganización reglada por un                     reorganization under an insolvency
                 procedimiento concursal.                              procedure.

                 El Presidente señor Ignacio CUETO indica              The Chairman Mr. Ignacio CUETO
                 que los tiempos del proceso convencional,             mentions that the timing of the mutually
                 la posibilidad que durante el mismo los               agreed process, the possibility that during
                 acreedores decidan ejercer acciones de                the same creditors may commence
                 cobro forzado, la imposibilidad de curar              foreclosure actions, the inability to cure
                 incumplimientos y la necesidad de                     non-performances and the need of
                 implementar una reestructuración integral             implementing and integral restructuring of
                 de la Compañía a la que se deban sumar                the Company to which all creditors and
                 todos sus acreedores y otras partes                   interested parties are bound, make
                 interesadas, llevan a considerar como                 considering a regulated process the best
                 mejor alternativa un procedimiento reglado.           alternative.


                                                                   2
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                 Hoy en día, la Compañía necesita                      Today, the Company needs relief from its
                 protección de sus acreedores y otras partes           creditors and interested parties, in the form
                 interesadas, que se refleje en una                    of an interim stay and, at the same time, the
                 suspensión temporal de ejecución, al                  ability to continue running the business with
                 mismo tiempo que poder continuar                      its key assets, suppliers, financing parties,
                 operando con sus principales activos,                 regulators and employees, while structuring
                 proveedores,       partes      financistas,           a binding reorganization to be financially
                 reguladores y trabajadores, mientras                  viable in a scenario post pandemic.
                 estructura una reorganización vinculante
                 para ser viable financieramente en un
                 escenario post pandemia.

                 Después de un amplio debate entre los After a comprehensive discussion among
                 directores, el Gerente General señor the directors, the CEO Mr. Roberto ALVO
                 Roberto ALVO explica que:             explains that:

                 (i) El 11 de marzo de 2020, la Organización           (i) On March 11, 2020 the World Health
                 Mundial de la Salud declaró el brote                  Organization declared the widespread
                 generalizado del reciente COVID-19 como               outbreak of the novel COVID-19 a global
                 pandemia mundial. Durante las semanas                 pandemic. Over the intervening weeks,
                 que siguieron a dicha declaración, los                countries around the world, including each
                 países de todo el mundo, incluyendo cada              of those in which LATAM Airlines Group
                 uno de aquellos en los que LATAM Airlines             S.A. and its affiliates (“LATAM”) have their
                 Group S.A. y sus personas relacionadas                primary operations, announced severe
                 (“LATAM”)      tienen   sus     operaciones           travel restrictions and/or outright closure of
                 principales,       anunciaron        severas          their borders. The impact on the airline
                 restricciones de viaje y/o cierre directo de          industry was almost instantaneous, and as
                 sus fronteras. El impacto en la industria             of April 2020, LATAM’s passenger flights
                 aérea fue casi instantáneo, y en abril de             are limited to roughly 4% of LATAM’s routes
                 2020, los vuelos de transporte de pasajeros           prior to the COVID-19 crisis.
                 se redujeron a aproximadamente un 4% de
                 las rutas de LATAM previo a la crisis del
                 COVD-19.

                 (ii) A pesar de tomar medidas significativas          (ii) Despite undertaking meaningful cost-
                 de ahorro de costos y preservación de                 saving and liquidity preserving measures,
                 liquidez, la posición de caja de la Sociedad          the Company’s liquidity position has
                 ha seguido deteriorándose a raíz de la                continued to deteriorate in the wake of the
                 pandemia COVID-19.                                    COVID-19 pandemic.

                 (iii) El Directorio ha revisado y tuvo la             (iii) The Board of Directors has reviewed
                 oportunidad de hacer preguntas sobre los              and had the opportunity to ask questions
                 antecedentes       suministrados  por    la           about the materials presented by the
                 administración y los asesores legales y               management and the legal and financial
                 financieros de la Sociedad y sus personas             advisors of the Company and its affiliates
                 relacionadas en relación a los pasivos y la           regarding the liabilities and liquidity of the
                 liquidez de la misma, las alternativas                Company, the strategic alternatives
                 estratégicas disponibles para ella, y el              available to it, and the impact of the
                 impacto de lo anterior en su negocio.                 foregoing on the Company’s business.



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                 (iv) El Directorio ha consultado a la                 (iv) The Board of Directors has consulted
                 administración y los asesores legales y               with the management and the financial and
                 financieros de la Sociedad y sus personas             legal advisors of the Company and its
                 relacionadas y, habiendo considerado en               affiliates and, having considered fully each
                 su totalidad cada una de las alternativas             of the strategic alternatives available to it,
                 estratégicas disponibles, ha concluido que            has concluded that it is desirable and in the
                 es deseable y en el mejor interés de la               best interests of the Company, its creditors
                 Sociedad, sus acreedores y otras partes               and other interested parties, to file a
                 interesadas, presentar una solicitud                  voluntary petition for relief under Chapter
                 voluntaria de amparo conforme al Chapter              11 (as defined below).
                 11 (según se define más adelante).

                 (v) El Procedimiento Chapter 11 (según se             (v) The Chapter 11 Proceeding (as defined
                 define más adelante) representa la mejor              below) represents the Company’s best
                 oportunidad de la Sociedad para asegurar              opportunity to ensure stability and meet its
                 la estabilidad y cumplir con sus                      obligations to its stakeholders. The
                 obligaciones con sus partes interesadas.              Company intends to use the substantive
                 La Sociedad tiene la intención de utilizar las        and procedural tools available in the
                 herramientas       sustantivas     y        de        Chapter 11 Proceeding to maximize the
                 procedimiento      disponibles     en        el       efficiency of its ongoing operations and
                 Procedimiento del Chapter 11 para                     renegotiate    certain   key     contractual
                 maximizar la eficiencia de sus operaciones            relationships in light of current market
                 en curso y renegociar ciertas relaciones              conditions.
                 contractuales clave a la luz de las
                 condiciones actuales del mercado.

                 El Directorio tiene presente lo expuesto por          The Board of Directors appreciated of the
                 el señor Presidente y luego de intercambiar           account provided by the Chairman and,
                 opiniones sobre el particular, por                    after exchanging opinions on the matter,
                 unanimidad de sus miembros presentes                  unanimously RESOLVES the following:
                 ACUERDA:

                 Primero: Someter a la Sociedad a un                   First: To submit the Company to a
                 proceso        de      reorganización     (el         reorganization proceeding (the "Chapter 11
                 “Procedimiento Chapter 11”) en los                    Proceeding") in the United States of
                 Estados Unidos de América conforme a las              America pursuant to the rules set forth in
                 normas establecidas en el Chapter 11 (el              Chapter 11 ("Chapter 11") of Title 11 of the
                 “Chapter 11”) del Título 11 del Código de             United States Code (the “Bankruptcy
                 los Estados Unidos de América (el                     Code”), by filing a voluntary petition for relief
                 “Bankruptcy Code”), presentando una                   thereunder in any district at such time as the
                 solicitud voluntaria de amparo (voluntary             person executing such petition shall
                 petition for relief) conforme al mismo en el          determine.
                 distrito y el momento que sea determinado
                 por la persona que suscriba la solicitud.

                 Segundo: Solicitar la designación de                  Second: To request the appointment of
                 LATAM Airlines Group S.A. como                        LATAM Airlines Group S.A. as the foreign
                 representante extranjero del Procedimiento            representative of the Chapter 11
                 Chapter 11 en carácter de procedimiento               Proceeding as a foreign proceeding before
                 extranjero ante los tribunales, autoridades           the courts, authorities and creditors of
                 y acreedores de jurisdicciones distintas de           jurisdictions other than the United States of

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                 los Estados Unidos de América para todos              America, for all purposes, including those
                 los efectos a que haya lugar, incluyendo              contemplated in Chapter VIII of Law No.
                 aquellos contemplados en el Capítulo VIII             20,720 of the Republic of Chile and other
                 de la Ley N° 20.720 de la República de                analogous rules.
                 Chile y otras normas análogas.

                 Tercero: Facultar a los señores Roberto               Third: To authorize Messrs. Roberto Alvo
                 Alvo Milosawlewitsch, Ramiro Alfonsín                 Milosawlewitsch, Ramiro Alfonsín Balza,
                 Balza, Juan Carlos Menció, Andrés del                 Juan Carlos Menció, Andrés del Valle Eitel
                 Valle Eitel y José María Eyzaguirre Baeza             and José María Eyzaguirre Baeza (the
                 (los “Representantes”, este término                   "Representatives", this term meaning each
                 incluyendo cada uno de ellos actuando                 of them acting alone or together) to, on
                 individualmente o en forma conjunta) para,            behalf of and representing the Company:
                 en nombre y representación de la
                 Sociedad:

                 (i) autorizar, suscribir y presentar todas las        (i) authorize, execute and file all
                 solicitudes, peticiones, anexos, mociones,            applications, petitions, schedules, motions,
                 listados, alegatos, documentos y otros                lists, pleadings, documents and other
                 antecedentes, suscribir acuerdos, extender            papers, enter into agreements, issue
                 documentos, realizar declaraciones y                  documents, make statements and filings,
                 presentaciones, participar en audiencias y            participate in hearings and take any and all
                 tomar todas y cada una de las medidas que             actions that they deem necessary or
                 considere necesarias o apropiadas para                appropriate to file the voluntary petition for
                 presentar una solicitud voluntaria de                 relief under Chapter 11, and take and
                 amparo (voluntary petition relief) bajo el            perform any and all further acts and deeds
                 Chapter 11, y adoptar e implementar todos             that they deem necessary, proper and
                 y cualesquiera actas y escrituras que ellos           desirable in connection with the Chapter 11
                 puedan considerar necesarias, pertinentes             Proceeding, with a view towards the
                 o deseables en relación con el                        successful prosecution of such case,
                 Procedimiento Chapter 11, encaminadas al              including, without limitation, any action
                 éxito del mismo, incluyendo, sin limitación,          necessary to maintain the ordinary course
                 la realización de cualquier acción necesaria          and continuity of the operation of the
                 para mantener el curso ordinario y la                 Company's business, whether before a
                 continuidad de la operación de los negocios           federal court of the United States of
                 de la Sociedad, sea frente a un tribunal              America or any other court or governmental
                 federal de los Estados Unidos de América              entity under the rules governing the
                 o frente a cualquier otro tribunal o autoridad        Chapter        11      Proceeding.        The
                 que corresponda conforme a las reglas que             Representatives are expressly authorized,
                 rigen el Procedimiento Chapter 11. Los                empowered and instructed to exercise all
                 Representantes quedan expresamente                    rights and perform all obligations that the
                 autorizados, facultados e instruidos para             Company has in its capacity as foreign
                 ejercer todos los derechos y cumplir todas            representative of the Chapter 11
                 las obligaciones que la Sociedad tenga en             Proceeding as a foreign proceeding before
                 su calidad de representante extranjero del            the courts, authorities and creditors of
                 Procedimiento Chapter 11 ante los                     jurisdictions other than the United States of
                 tribunales, autoridades y acreedores de               America, for all purposes, including those
                 jurisdicciones distintas de los Estados               contemplated in Chapter VIII of Law No.
                 Unidos de América para todos los efectos a            20,720 of the Republic of Chile and other
                 que haya lugar, incluyendo aquellos                   analogous rules; and
                 contemplados en el Capítulo VIII de la Ley

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                 N° 20.720 de la República de Chile y otras
                 normas análogas; y

                 (ii) obtener financiamiento posterior a la            (ii) obtain post-petition financing (the “DIP
                 solicitud de reorganización bajo el                   Financing”) and, if applicable, cash
                 Procedimiento        Chapter      11       (el        collateral usage on terms substantially in
                 “Financiamiento DIP”) y, de corresponder,             the form of such terms presented to the
                 el uso de garantías en efectivo, en términos          Board of Directors on the date hereof, and
                 sustancialmente       similares     a     los         subject to the further terms and conditions
                 presentados al Directorio en esta sesión, y           precedent set forth in the definitive
                 sujeto a los términos y condiciones                   documentation,       and      in   connection
                 precedentes       adicionales     que      se         therewith, (a) negotiate, execute deliver
                 establezcan en la documentación definitiva,           and file (as necessary) appropriate loan
                 y en relación con ello, (a) negociar,                 agreements,        guarantees,        security
                 ejecutar, otorgar y presentar frente a                agreements,      notes,      cash    collateral
                 tribunales o autoridades (según fuere                 agreements       and      related     ancillary
                 necesario) los contratos de crédito                   documents, certificates and instruments,
                 correspondientes, garantías, contratos de             and with respect to each of the foregoing,
                 garantía, notas, contratos de garantía en             and any amendments, supplements,
                 efectivo y los documentos relacionados,               modifications, extensions and renewals
                 certificados e instrumentos, y con respecto           thereto (collectively, the “DIP Facility
                 a cada uno de los anteriores, y cualquier             Documents”), (b) grant security interests in
                 modificación, suplemento, extensión o                 favor of the agent(s), for the benefit of the
                 renovación de los mismos (conjuntamente,              lenders thereunder, to secure the
                 los “Documentos del Crédito DIP”), (b) dar            obligations under the DIP Facility, (c) to
                 garantías en favor de uno o más agentes,              negotiate, execute, deliver or file (as
                 en beneficio de los financistas bajo los              necessary)      each     other     agreement,
                 mismos, dar otras seguridades para el                 instrument or document to be negotiated,
                 Financiamiento DIP, (c) negociar, ejecutar,           executed, delivered or filed (as necessary),
                 entregar o archivar (según sea necesario)             (together with the DIP Facility Documents,
                 cada contrato, instrumento o documento                the “DIP Documents”) in the name and on
                 que sea negociado, suscrito, entregado o              behalf of the Company, pursuant thereto or
                 presentado      (según     sea    necesario)          in connection therewith, and (d) perform its
                 (conjuntamente con los Documentos del                 obligations under the DIP Documents and
                 Crédito DIP, los “Documentos DIP”), en                take any other actions, and negotiate and
                 nombre y representación de la Sociedad,               pay all fees, taxes and other expenses in
                 de conformidad con o en relación con el               connection with the foregoing; in each
                 mismo, y (d) cumplir sus obligaciones bajo            instance, on such other terms and
                 los Documentos DIP y suscribir todos los              conditions     as     such      Representative
                 actos, y negociar y pagar cualquier                   executing the same may consider
                 honorario, impuestos u otros gastos, en               necessary, proper or desirable ,all with
                 cada caso, en los términos y condiciones              such changes therein and additions thereto
                 que el Representante que los ejecute                  as any Representative approves, such
                 considere necesario, adecuado o deseable,             approval to be conclusively evidenced by
                 todo ello con los cambios y adiciones que             the taking of such action or by the execution
                 cualquier Representante apruebe, lo que               and delivery thereof.
                 quedará demostrado por el solo hecho de
                 ejecutarse dichos actos.




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                 Los Representantes quedan expresamente The Representatives are expressly
                 autorizados para delegar los poderes authorized to delegate the authority hereby
                 conferidos mediante la presente resolución. granted to them.

                 Cuarto: Autorizar a los Representantes                Fourth: To authorize the Representatives to
                 para que ejerzan los derechos que                     exercise the rights of the Company in its
                 correspondan a la Sociedad en su calidad              capacity as a shareholder, member, partner
                 de      accionista,   miembro,    socio     o         or investor with respect to any of its
                 inversionista respecto de cualquiera de sus           subsidiaries and coligadas, if any, for the
                 filiales y coligadas, de haberlas, con el fin         purpose of submitting all or part of such
                 de someter todas o algunas de dichas                  companies to the Chapter 11 Proceeding,
                 sociedades al Procedimiento Chapter 11,               including by authorizing, executing and
                 incluyendo mediante la autorización,                  verifying a voluntary petition to commence
                 suscripción y verificación de una solicitud           proceedings under Chapter 11, causing the
                 voluntaria para comenzar un procedimiento             same to be filed and taking any and all
                 bajo el Chapter 11, causando que la misma             action that they deem necessary, proper
                 sea presentada y tomando todas y cada                 and desirable in connection with the
                 una de las acciones que consideren                    Chapter 11 Proceeding. It is resolved that
                 necesarias, pertinentes y deseables en                the Representatives shall have the
                 relación con el procedimiento del Chapter             authority to make such assessment and to
                 11. Se deja constancia que los                        decide whether to submit one or more such
                 Representantes estarán facultados para                companies to the Chapter 11 Proceeding at
                 realizar dicha evaluación y tomar la                  their discretion.
                 decisión de someter una o más de dichas
                 sociedades al Procedimiento Chapter 11
                 conforme a lo expuesto en forma
                 discrecional.

                 Quinto: Contratar y mantener a los                    Fifth: To hire and retain the following
                 siguientes asesores en las calidades que              advisors in the following capacities (the
                 en cada caso se identifican (los                      "Advisors"), for all purposes of the Chapter
                 “Asesores”), para todos los efectos del               11 Proceeding and related matters:
                 Procedimiento Chapter 11 y materias
                 relacionadas:

                 (i) al estudio de abogados Claro & Cia. para          (i) the law firm Claro & Cia., to, in
                 que, en coordinación con el estudio de                coordination with the law firm Cleary,
                 abogados Cleary, Gottlieb, Steen &                    Gottlieb, Steen & Hamilton LLP, advise the
                 Hamilton LLP asesore a la Sociedad en la              Company in the assessment, general
                 evaluación,        coordinación     general,          coordination, filing, execution, negotiation
                 presentación, ejecución, negociación y                and completion of the Chapter 11
                 finalización del Procedimiento Chapter 11 y           Proceeding and all other proceedings
                 todos los demás procesos relacionados                 related thereto and any bankruptcy
                 con el mismo y en cualquier procedimiento             proceedings in which the Company may
                 concursal en que tenga interés la Sociedad.           have an interest. Without limiting the
                 Sin limitar la generalidad de lo anterior,            generality of the foregoing, Claro & Cia. will
                 Claro & Cia. estará facultado para                    be authorized to represent and assist the
                 representar y asistir a la Sociedad en el             Company in the performance of its
                 desempeño de sus funciones y deberes                  functions and duties in Chile in connection
                 que corresponda en Chile con motivo de                with such proceedings;
                 dichos procedimientos;

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                 (ii) Al estudio de abogados Cleary, Gottlieb,         (ii) the law firm Cleary, Gottlieb, Steen &
                 Steen & Hamilton LLP como asesor legal                Hamilton LLP as lead counsel in the context
                 general en el contexto del Procedimiento              of the Chapter 11 Proceeding, in such
                 Chapter 11, para que en esta calidad y en             capacity and in coordination with the law
                 coordinación con el estudio de abogados               firm Claro & Cia., to represent and assist
                 Claro & Cia., represente y asista a la                the Company in the performance of its
                 Sociedad en el desempeño de sus                       functions and duties under the Bankruptcy
                 funciones y deberes bajo el Bankruptcy                Code and related matters, and in the taking
                 Code y en asuntos relacionados, y en la               of any and all appropriate actions to
                 adopción de todas y cada una de las                   advance the rights and obligations of the
                 medidas adecuadas para ejercer los                    Company in connection therewith, including
                 derechos y obligaciones de la Sociedad en             the filing of applications and pleadings;
                 tales asuntos, incluida la presentación de
                 solicitudes y la realización de alegatos;

                 (iii) al estudio de abogados Togut, Segal &           (iii) the law firm Togut, Segal & Segal, LLP
                 Segal, LLP como asesor de conflictos en el            as conflicts counsel in the context of the
                 contexto del Procedimiento Chapter 11,                Chapter 11 Proceeding, in such capacity
                 para que en tal condición y en coordinación           and in coordination with the law firms Claro
                 con los estudios de abogados Claro & Cia.             & Cia. and Cleary, Gottlieb, Steen &
                 y Cleary, Gottlieb, Steen & Hamilton LLP,             Hamilton LLP, to represent and assist the
                 represente y asista a la Sociedad en el               Company in the performance of its
                 desempeño de sus funciones y deberes                  functions and duties under the Bankruptcy
                 bajo el Bankruptcy Code y asuntos                     Code and related matters, and in the taking
                 relacionados, y en la adopción de todas y             of any and all appropriate actions to
                 cada una de las medidas adecuadas para                advance the rights and obligations of the
                 ejercer los derechos y obligaciones de la             Company in connection therewith, including
                 Sociedad en tales asuntos, incluida la                the filing of applications and pleadings;
                 presentación de solicitudes y la realización
                 de alegatos;

                 (iv) a FTI Consulting, Inc. como asesor               (iv) FTI Consulting, Inc. as financial
                 financiero en relación a las materias                 advisor in connection with matters
                 propias del Procedimiento Chapter 11 para             pertaining to the Chapter 11 Proceeding to
                 representar y asistir a la Sociedad en el             represent and assist the Company in the
                 desempeño de sus funciones y deberes                  performance of its duties and functions
                 bajo el Bankruptcy Code.                              under the Bankruptcy Code;

                 (v) a PJT Partners, Inc. como asesor                  (v) PJT Partners, Inc. as financial advisor in
                 financiero en relación con los asuntos                connection with matters pertaining to the
                 relativos al Procedimiento Chapter 11 para            Chapter 11 Proceeding to represent and
                 representar y ayudar a la Compañía en el              assist the Company in the performance of
                 desempeño de sus deberes y funciones                  its duties and functions under the
                 bajo el Bakruptcy Code;                               Bankruptcy Code;

                 (vi) a Prime Clerk LLC, como agente de                (vi) Prime Clerk LLC, as notice and claims
                 avisos y reclamaciones, para representar y            agent, to represent and assist the Company
                 asistir a la Compañía en el desempeño de              in the performance of its functions and
                 sus funciones y deberes bajo el Bankruptcy            duties under the Bankruptcy Code and
                 Code y en asuntos relacionados, y en la               related matters, and in the taking of any and

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                 toma de todas y cada una de las acciones all appropriate actions to advance the rights
                 apropiadas para ejercer los derechos y and obligations of the Company in
                 obligaciones de la Compañía en tales connection therewith, and
                 asuntos; y

                 (vii) a cualquier otro asesor legal, contable,        (vii) any other legal counsel, accountants,
                 asesor financiero u otro profesional que              financial advisors or other professionals to
                 represente y asista a la Sociedad en el               represent and assist the Company in the
                 desempeño de sus funciones y deberes                  performance of its duties and functions
                 bajo el Bankruptcy Code, y en la toma de              under the Bankruptcy Code, and in the
                 todas y cada una de las acciones                      taking of any and all appropriate actions to
                 apropiadas para ejercer los derechos y                advance the rights and obligations of the
                 obligaciones de la Sociedad en tales                  Company in connection therewith; the
                 asuntos; lo anterior a discreción de los              foregoing at the discretion of the
                 Representantes.                                       Representatives.

                 Los Representantes quedan autorizados,                The Representatives are authorized,
                 facultados e instruidos para celebrar                 empowered and instructed to enter into
                 contratos de asesoría y prestación de                 advisory and service contracts with the
                 servicios con los Asesores, incluyendo los            Advisors, including appropriate retention
                 acuerdos de retención que sean                        agreements, to pay appropriate retainers
                 necesarios, para pagar los anticipos                  and to cause to be filed an appropriate
                 correspondientes y para hacer que se                  application for authority to retain the
                 presente una solicitud apropiada de                   services of such Advisors.
                 autorización para contratar los servicios de
                 dichos Asesores.

                 Sexto: Otorgar mandato judicial sin                   Sixth: Grant powers, without limitation with
                 limitación respecto a su cuantía a los                respect to the amount at stake, to the
                 abogados José María Eyzaguirre Baeza,                 attorneys at law Messrs. José María
                 chileno, casado, cédula nacional de                   Eyzaguirre Baeza, Chilean, married,
                 identidad número 7.011.679-0; Cristóbal               national identity card number 7,011,679-0;
                 Eyzaguirre Baeza, chileno, casado, cédula             Cristóbal Eyzaguirre Baeza, Chilean,
                 nacional de identidad número 7.011.690-1;             married, national identity card number
                 Nicolás Luco Illanes, chileno, casado,                7,011. 690-1; Nicolás Luco Illanes, Chilean,
                 cédula nacional de identidad número                   married, national identity card number
                 10.876.781-2; Felipe Larrain Tejeda,                  10.876.781-2; Felipe Larrain Tejeda,
                 chileno, soltero, cédula nacional de                  Chilean, single, national identity card
                 identidad número 7.049.011-0; José Miguel             number 7.049.011-0; José Miguel Huerta
                 Huerta Molina, chileno, casado, cédula                Molina, Chilean, married, national identity
                 nacional de identidad número 13.038.771-              card number 13.038,771-3; and José María
                 3; y José María Eyzaguirre Fernández,                 Eyzaguirre Fernández, Chilean, married,
                 chileno, casado, cédula nacional de                   national identity card number 16,097,057-K
                 identidad número 16.097.057-K (en                     (the foregoing will hereinafter jointly be
                 adelante, los anteriores conjuntamente                referred      to     as      the     "Judicial
                 serán referidos como los “Mandatarios                 Representatives"); all domiciled for these
                 Judiciales”); todos domiciliados para estos           purposes at Avenida Apoquindo 3721, 14th
                 efectos en Avenida Apoquindo 3721, piso               floor, in the borough of Las Condes,
                 14, comuna de Las Condes, Santiago para               Santiago, so that, acting indistinctively
                 que, actuando indistintamente de manera               jointly or separately, they may represent the
                 conjunta o separada, representen a la

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                 Sociedad ante todo y cualquier tribunal y en Company before any court and in any
                 todo proceso, de cualquier tipo y proceeding of any kind and nature.
                 naturaleza.

                 Los Mandatarios Judiciales actuando en la          The Judicial Representatives, acting in the
                 forma antes indicada gozarán de las                manner indicated above, shall be vested
                 facultades ordinarias y extraordinarias del        with ordinary and extraordinary authority,
                 mandato          judicial,      contempladas,      as contemplated, respectively, in both the
                 respectivamente, en el primer y segundo            first and the second paragraphs of Article 7°
                 inciso del artículo 7° del Código de               of the Code of Civil Procedure, which are
                 Procedimiento Civil, las que se dan por            deemed expressly reproduced, and which
                 expresamente reproducidas, y que incluyen          include suing and filing complaints,
                 las       de       demandar,         contestar     answering counterclaims, withdrawing
                 reconvenciones, desistirse en primera              claims in the first instance, acquiescence,
                 instancia de la acción deducida, aceptar la        absolving positions, waiving legal remedies
                 demanda contraria, absolver posiciones,            or terms, submitting a matter to arbitration,
                 renunciar a los recursos o términos legales,       granting arbitrators authority to act as
                 transigir, comprometer, otorgar a los              aequo et bono, consenting to jurisdiction,
                 árbitros facultades de arbitradores,               approving reorganization agreements and
                 prorrogar competencia, aprobar acuerdos            collecting proceeds. In addition, the Judicial
                 de reorganización y percibir. Además, los          Representatives are explicitly authorized to
                 Mandatarios           Judiciales      quedan       initiate    any    bankruptcy     proceeding
                 explícitamente facultados para iniciar             (reorganization or liquidation) provided for
                 cualquier procedimiento concursal de               in Law No. 20,720, as well as to request the
                 reorganización previsto en la Ley N° 20.720        recognition of foreign proceedings as main
                 así como para solicitar el reconocimiento          or ancillary proceedings, and may exercise
                 de procedimientos extranjeros en carácter          all the rights conferred by the law to that
                 de principales o no principales, pudiendo          effect. The Judicial Representatives are
                 ejercer todos los derechos que le confiere         also empowered to appoint sponsoring
                 la ley al efecto. Los Mandatarios Judiciales       attorneys (patrocinantes) and to assume
                 quedan, además, facultados para designar           sponsorship themselves, to delegate power
                 abogados patrocinantes y asumir ellos              of attorney and to reassume it as many
                 mismos el patrocinio, delegar poder y              times as they deem necessary or
                 reasumirlo      cuantas      veces    estimen      conducive, with all the powers conferred by
                 necesario o conducente, con todas las              this instrument, thus binding the Company.
                 facultades que por este instrumento se les
                 confiere, obligando con ello a la Sociedad.

                 Los Mandatarios Judiciales no estarán              The Judicial Representatives shall not be
                 facultados para ser emplazados en                  authorized to be served or notified on behalf
                 representación de la Compañía, ni para             of the Company, nor to answer new
                 contestar nuevas demandas sin previo               complaints without prior service of process
                 emplazamiento de esta.                             to the Company.

                 Los Mandatarios Judiciales podrán ser              The Judicial Representatives may be
                 citados a absolver posiciones, únicamente          summoned to absolve positions only on
                 sobre hechos propios de ellos, mas no              their own facts, but not on the facts of the
                 sobre hechos de la Sociedad.                       Company.

                 Séptimo: Adicionalmente, autorizar y Seventh: In addition to the specific
                 facultar a los Representantes, para que en authorizations heretofore conferred upon

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                 nombre y representación de la Compañía,            the Representatives, to authorize and
                 adopten, o causen la adopción de,                  empower the Representatives, in the name
                 cualquier otra medida, y para que realicen,        of and on behalf of the Company, to take or
                 firmen, suscriban, reconozcan y entreguen          cause to be taken any and all such other
                 (y registren en una oficina pertinente del         and further action, and to make, sign,
                 secretario del condado, si es necesario), y        execute, acknowledge and deliver (and
                 presenten todos los acuerdos (incluidos los        record in a relevant office of the county
                 elementos de prueba de los mismos),                clerk, if necessary), and file any and all
                 certificados, instrumentos, enmiendas,             arrangements,      agreements        (including
                 declaraciones        juradas,        órdenes,      exhibits thereto), certificates, instruments,
                 instrucciones, certificaciones, solicitudes,       amendments, affidavits, orders, directions,
                 recibos, declaraciones de financiamiento u         certifications, requests, receipts, financing
                 otros instrumentos y a pagar todos los             statements or other instruments and to pay
                 gastos, incluidos, entre otros, los gastos de      all expenses, including but not limited to
                 presentación, en cada caso, según el               filing fees, in each case as in such
                 Representante       considere      necesario,      Representative       or      Representatives’
                 aconsejable o deseable, a su discreción,           judgment shall be necessary, advisable or
                 para alcanzar completamente el propósito           desirable in order to fully carry out the intent
                 de los acuerdos anteriores, a celebrar y           and accomplish the purposes of the
                 otorgar dichos instrumentos, y a cumplir           foregoing resolutions, and to execute and
                 plenamente       las      condiciones       y      deliver such instruments, and to fully
                 disposiciones de los mismos.                       perform the terms and provisions thereof.

                 Octavo: Ratificar y confirmar en su totalidad      Eighth: To ratify and confirm in their entirety
                 todos los actos, acciones y operaciones            all the acts, actions and transactions related
                 relacionados con los acuerdos antes                to the matters contemplated by the
                 referidos, en la medida que puedan haber           foregoing resolutions to the extent that any
                 sido adoptados o ejecutadas en nombre y/o          such acts, actions and transactions have
                 representación de la Sociedad y sujetos a          been taken or executed in the name of or
                 los términos de los demás acuerdos de que          on behalf of the Company and subject to the
                 da cuenta esta acta.                               terms of the other resolutions adopted
                                                                    herein.

                 Noveno: Levantar el carácter reservado de          Ninth: Terminate the reserved nature of the
                 los acuerdos adoptados en las sesiones de          resolutions passed in the meetings of the
                 Directorio de fecha 7, 14, 21, 28 y 30 de          Board of Directors dated April 7, 14, 21, 28
                 abril, y 5, 12, 19 y 22 de mayo del presente.      and 30, and May 5, 12, 19 and 22 of this
                                                                    year.

                 Décimo: Calificar lo acordado en esta              Tenth: Qualify these resolutions as material
                 sesión como un hecho relevante, y                  information,     and       authorize    the
                 autorizar a los Representantes para                Representatives to report a Material Fact
                 informar como Hecho Esencial a la CMF, 6-          before the CMF, a 6-K or applicable notice
                 K o aviso aplicable a la Securities and            to    the    Securities    and     Exchange
                 Exchange     Commission       y,    según          Commission and, as applicable to
                 corresponda,        a         autoridades          governmental officials, the stock exchanges
                 gubernamentales, las bolsas de valores y el        and the market at large.
                 mercado en general.

                 3. REDUCCIÓN A ESCRITURA PÚBLICA                   3. REDUCTION TO PUBLIC DEED


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                 Por unanimidad el Directorio ACUERDA               The Board of Directors unanimously
                 facultar a los abogados Juan Carlos                RESOLVES to authorize the attorneys
                 Menció, Claudia Pavez González, María              Juan Carlos Menció, Claudia Pavez
                 Esperanza Schorr Donoso, José María                González, María Esperanza Schorr
                 Eyzaguirre Baeza, Nicolás Luco Illanes,            Donoso, José María Eyzaguirre Baeza,
                 Felipe Larrain Tejeda, José María                  Nicolás Luco Illanes, Felipe Larrain Tejeda,
                 Eyzaguirre Fernández y Gerardo Otero               José María Eyzaguirre Fernández and
                 Vial, para que, actuando separada e                Gerardo Otero Vial, acting separately and
                 indistintamente, cualquiera de ellos               indistinctively, to evidence the pertinent
                 reduzca a escritura pública las partes             parts of these minutes in a public deed
                 pertinentes de la presente acta sin esperar        without waiting for their approval, being the
                 su aprobación, sirviéndoles la misma de            minutes themselves sufficient source of
                 suficiente personería. Asimismo, se faculta        authority. Likewise, the bearer of the
                 al portador de la señalada escritura pública       aforementioned public deed shall be
                 para requerir y firmar todas las anotaciones       authorized to request and sign all the
                 e inscripciones que fueren pertinentes en          relevant annotations and registrations in the
                 los registros conservatorios respectivos.          relevant registry.




                             Ignacio Cueto Plaza                                 Enrique Cueto Plaza
                             Presidente/Chairman                                       Director




                             Nicolás Eblen Hirmas                             Eduardo Novoa Castellón
                                    Director                                          Director




                          Enrique Ostalé Cambiaso                               Patrick Horn García
                                  Director                                             Director




                             Sonia J.S. Villalobos                                  Giles Agutter
                                   Director                                            Director




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                           Henri Philippe Reichstul                           Claudia Pavez González
                                  Director                                      Secretaria/Secretary




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                              CERTIFICACIÓN                                    CERTIFICATION

                 El Presidente y la Secretaria del Directorio      The Chairman and the Secretary of the
                 certifican que los señores Ignacio Cueto          Board of Directors certify that Mr. Ignacio
                 Plaza, Eduardo Novoa Castellón, Nicolás           Cueto Plaza, Mr. Eduardo Novoa
                 Eblen Hirmas, Enrique Cueto Plaza,                Castellón, Mr. Nicolás Eblen Hirmas, Mr.
                 Patrick Horn García, Henri Philippe               Enrique Cueto Plaza, Mr. Patrick Horn
                 Reichstul, Sonia J.S Villalobos, Enrique          García, Mr. Henri Philippe Reichstul, Ms.
                 Ostalé Cambiaso y Giles Agutter                   Sonia J.S Villalobos, Mr. Enrique Ostalé
                 asistieron y participaron a la presente           Cambiaso and Mr. Giles Agutter attended
                 sesión, estando comunicados simultánea            and participated in this meeting, being
                 y permanentemente a través de                     communicated       simultaneously      and
                 videoconferencia, conforme lo indicado en         permanently via videoconference, in
                 el artículo 47 de la Ley sobre Sociedades         accordance with Article 47 of the
                 Anónimas, la Circular N° 1530 de la CMF           Corporations Act, Circular No. 1530 of the
                 y el Oficio Circular N° 1149 de la CMF.           CMF and Oficio Circular No. 1149 of the
                                                                   CMF.




                          Ignacio Cueto Plaza                                Claudia Pavez González
                          Presidente/Chairman                                  Secretaria/Secretary
